             Case 1:21-cr-00043-CJN Document 17-1 Filed 04/28/21 Page 1 of 7



                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             :
                                                     :
                 v.                                  :        No. 1:21-cr-00043-CJN
                                                     :
RASHA ABUAL-RAGHEB,                                  :
                                                     :
                                   Defendant.        :

                       PROTECTIVE ORDER GOVERNING DISCOVERY

        To expedite the flow of discovery material between the parties and adequately protect the

United States’ legitimate interests, it is, pursuant to the Court’s authority under Fed. R. Crim. P.

16(d)(1) and with the consent of the parties, ORDERED:

        1.       Materials Subject to this Order. This Order governs materials provided by the

United States at any stage of discovery during this case and which the United States has identified

as either “Sensitive” or “Highly Sensitive.” Examples of materials that the United States may

designate as “Sensitive” or “Highly Sensitive” pursuant to this Order include but arenot limited

to:

                 a.       Personal identity information as identified in Rule 49.1 of the Federal
                          Rules ofCriminal Procedure, as well as telephone numbers, email
                          addresses, driver’s license numbers, and similar unique identifying
                          information;
                 b.       Information regarding the government’s confidential sources;
                 c.       Information that may jeopardize witness security;
                 d.       Contact information for, photographs of, and private conversations with
                          individuals that do not appear to be related to the criminal conduct in this
                          case;
                 e.       Medical or mental health records;
                 f.       Sources and methods law-enforcement officials have used, and will
                          continue touse, to investigate other criminal conduct related to the publicly
                          filed charges;
                 g.       Surveillance camera footage from the U.S. Capitol Police’s extensive
                          system ofcameras on U.S. Capitol grounds; 1


        1
         To be clear, this does not include footage from body worn cameras from other police departments that
responded on January 6, 2021, the vast amount of which the United States will not designate as Sensitive or Highly
             Case 1:21-cr-00043-CJN Document 17-1 Filed 04/28/21 Page 2 of 7



                 h.       Repair estimates from the Architect of the Capitol;
                 i.       Materials designated as “security information” pursuant 2 U.S.C. §1979;
                          and
                 j.       Tax returns or tax information.

This Order will not be used to designate materials as Sensitive or Highly Sensitive unless such

designation is necessary for one of the reasons stated in this paragraph or for a similar reason not

anticipated by this Order. The government agrees to make every effort to provide discovery in a

manner that will allow for most discovery to be produced without such designations.

        2.       Defendant. Any reference to “Defendant” herein refers individually to each

defendant identified in the caption above.

        3.       Legal Defense Team. The “legal defense team” includes defense counsel

(defined as counsel of record in this case, including any post-conviction or appellate counsel)

and any attorneys, investigators, paralegals, support staff, and expert witnesses who are advising

or assisting defense counsel in connection with this case.

        4.       Rules for the Handling of Sensitive and Highly Sensitive Materials.

                 a.       Limitations on Use. Defendant and the legal defense team may use
                          Sensitiveand Highly Sensitive discovery materials solely in connection
                          with the defense of this case and any other case connected to the events at
                          the United States Capitol on January 6, 2021, including any post-
                          conviction or appellatelitigation, and for no other purpose, and in
                          connection with no other proceeding, without further order of this Court.

                 b.       Limitations on Dissemination. No Sensitive or Highly Sensitive
                          materials, or the information contained therein, may be disclosed to any
                          persons other than Defendant, the legal defense team, or the person to
                          whom the Sensitive or Highly Sensitive information solely and directly
                          pertains or his/her counsel,without agreement of the United States or prior
                          authorization from the Court.

                 c.       Limitations on Reproduction. Defendant, the legal defense team, and
                          authorized persons shall not copy or reproduce the Sensitive or Highly
                          Sensitive materials except in order to provide copies of the materials for
                          use inconnection with this case by Defendant, the legal defense team, the

Sensitive. (Body worn camera footage will be marked Sensitive or Highly Sensitive only if it contains material
described in paragraph one above or for a similar reason not anticipated by this Order.)

                                                         2
            Case 1:21-cr-00043-CJN Document 17-1 Filed 04/28/21 Page 3 of 7



                       person to whom the Sensitive or Highly Sensitive information solely and
                       directly pertains or his/her counsel, and other persons to whom the Court
                       may authorize disclosure (collectively, “authorized persons”).

                       If defense counsel provides Defendant access to Sensitive or Highly
                       Sensitivematerials, defense counsel must advise Defendant that Defendant
                       may not record any personal identity information as identified in Rule 49.1
                       of the Federal Rules of Criminal Procedure or any telephone numbers,
                       email addresses, driver’s license numbers, and similar unique identifying
                       information. By signing the attached affirmation, Defendant agrees not to
                       do so.

                       Copies and reproductions, and any notes or records made in relation to the
                       contents of the Sensitive and Highly Sensitive materials, are to be treated
                       inthe same manner as the original materials.

                d.     Court Filings. Absent prior agreement by the parties or permission from
                       the Court, no party shall disclose materials designated as Sensitive or
                       Highly Sensitive in any public filing with the Court. Such materials shall
                       be submitted under seal in accordance with Local Criminal Rule 49(f)(6).
                       The Clerk of Court shall accept for filing under seal any filings made in
                       compliance with that Rule and so marked by the parties pursuant to this
                       Order.

                e.     Court Hearings. The restrictions in this Order shall not limit either party
                       in the use of the materials in judicial proceedings in this case. The
                       procedures foruse of designated Sensitive and Highly Sensitive materials
                       during any hearingor the trial of this matter shall be determined by the
                       parties and the Court in advance of the hearing or trial. No party shall
                       disclose materials designated Sensitive or Highly Sensitive in open court
                       without agreement by the parties that such materials may be disclosed in
                       open court or prior authorization by the Court.

       5.       Additional Rules for Handling of Sensitive Materials. The following

additional terms apply to Sensitive materials:

                       Storage. Sensitive materials must be maintained in the custody and
                       control ofDefendant, the legal defense team, and authorized persons. This
                       restriction shall not apply to the person to whom the Sensitive information
                       solely and directly pertains or his/her attorney.

       6.       Additional Rules for Handling of Highly Sensitive Materials. The following

additional rules apply to Highly Sensitive materials:



                                                 3
            Case 1:21-cr-00043-CJN Document 17-1 Filed 04/28/21 Page 4 of 7



                a.     Additional Limitations on Dissemination. Defense counsel may not
                       providea copy of Highly Sensitive materials to Defendant or permit
                       Defendant to view such materials unsupervised by defense counsel or an
                       attorney, investigator, paralegal, or support staff person employed by
                       defense counsel.
                       The parties agree that defense counsel or an attorney, investigator,
                       paralegal,or support staff person employed by defense counsel, may
                       supervise Defendant by allowing access to Highly Sensitive materials
                       through a cloud-based delivery system that permits Defendant to view the
                       materials but does not permit Defendant the ability to download; provided
                       that, prior to doing so,defense counsel first provides notice to the United
                       States and allow the UnitedStates to file an objection with the Court if no
                       agreement is reached.

                b.     Additional Limitations on Reproduction. Counsel agrees that prior to
                       showing materials to Defendant designated as Highly Sensitive, counsel or
                       anattorney, investigator, paralegal, or support staff person employed by
                       defense counsel will read Defendant the relevant parts of this Order, and
                       remind Defendant of the consequences of violating the Order. If
                       Defendant takes notes regarding Highly Sensitive materials, counsel or an
                       attorney, investigator, paralegal, or support staff person employed by
                       defense counsel must take reasonable steps to determine whether
                       Defendant has copied any personal identity information as identified in
                       Rule 49.1 of the Federal Rules ofCriminal Procedure or any telephone
                       numbers, email addresses, driver’s license numbers, and similar unique
                       identifying information.

                c.     Storage. Highly Sensitive materials must be maintained in the custody
                       and control of the legal defense team and authorized persons. This
                       restriction shall not apply to the person to whom the Highly Sensitive
                       information solelyand directly pertains or his/her attorney.

       7.       Viewing by Incarcerated Defendants. If Defendant is in the custody of the

United States Marshals Service, defense counsel is authorized to provide a copy of discovery

materials to the appropriate point of contact so that the defendant can view the discovery

materials, subject to the terms of this Order.

       8.       Disputes. The parties shall make a good faith effort to resolve any dispute about

a sensitivity designation before requesting the Court’s intervention. The United States may agree

to remove or reduce a sensitivity designation without further order of this Court. Whenever the

redaction of specified information will resolve the basis for which a sensitivity designation was


                                                 4
             Case 1:21-cr-00043-CJN Document 17-1 Filed 04/28/21 Page 5 of 7



applied, the United States will agree to redaction, and such redaction will render the materials no

longer subject to this Order. Any agreement to reduce or remove a sensitivity designation or to

redact specific information shall be memorialized in writing.

        9.       Modification Permitted. Nothing in this Order shall prevent any party from

seeking modification of this Order nor prevent the defense from contesting a sensitivity

designation. The parties agree that the burden of demonstrating the need for a protective order

remains with the government at all times.

        10.      Failure not Waiver. The failure by the United States to designate any materialsas

Sensitive or Highly Sensitive upon disclosure shall not constitute a waiver of the United States’

ability to later designate the materials as Sensitive or Highly Sensitive but the government must

separately identify and memorialize the changed status of those materials in writing.

        11.      Automatic Exclusions from this Order. This Order does not apply to materials

that:

                 a.       Are, or later become, part of the public court record, including materials
                          that havebeen received in evidence in this or other public trials or hearings;

                 b.       Were derived directly from Defendant or that pertain solely to Defendant.
                          Examples of such materials include Defendant’s own financial records,
                          telephonerecords, digital device downloads, social media records,
                          electronic communications, arrest records, and statements to law
                          enforcement; 2 and

                 c.       Materials that the defense obtains by means other than discovery.

        12.      Government’s Discovery Obligations. Nothing in this Order modifies the

United States’ obligations at any stage of discovery in this case pursuant to Federal Rules of

Criminal Procedure 16 and 26.2, Local Criminal Rule 5.1, 18 U.S.C. § 3500 (the Jencks Act),


        2
         Discoverable materials that were derived directly from Defendant or that pertain solely to Defendant are
exempt from this Order regardless of whether the United States has designated any such materials as “Sensitive” or
“Highly Sensitive” because the same materials are being provided or made available to co-defendants or other
persons charged in connection with the events at the United States Capitol on January 6, 2021.

                                                         5
          Case 1:21-cr-00043-CJN Document 17-1 Filed 04/28/21 Page 6 of 7



and the government’s general obligation to produce exculpatory and impeachment information in

criminal cases.

       13.        Defense Counsel’s Obligations. Defense counsel must provide a copy of this

Order to, and review the terms of this Order with, members of the legal defense team, Defendant,

and any other person, before providing them access to Sensitive or Highly Sensitive materials.

Defense counsel must obtain a fully executed copy of the Attachment before providing

Defendant access to Sensitive or Highly Sensitive materials, and must file a copy with the Court

within one week of execution.

       14.        No Ruling on Discoverability or Admissibility. This Order does not constitute

a ruling on the question of whether any particular material is properly discoverable or admissible

and does not constitute any ruling on any potential objection to the discoverability or

admissibility of any material.

       15.        Duration. The terms of this Order shall remain in effect after the conclusion of

this case and the parties shall be bound by it unless otherwise ordered by the Court.



SO ORDERED this _______ day of __               __, 2021.



                                                       _____________________________________
                                                       HONORABLE Carl J. Nichols
                                                       United States District Judge




                                                   6
          Case 1:21-cr-00043-CJN Document 17-1 Filed 04/28/21 Page 7 of 7



                                        ATTACHMENT

                                     Defendant’s Acceptance

       I have read this Protective Order and carefully reviewed every part of it with my attorney.

I am fully satisfied with the legal services provided by my attorney in connection with this

Protective Order and all matters relating to it. I fully understand this Protective Order and

voluntarily agree to it. No threats have been made to me, nor am I under the influence of anything

that could impede my ability to understand this Protective Order fully.



Date: ________                                        _____________________________
                                                      Rasha Abual-Ragheb
                                                      Defendant
